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                                                ABSTRACT OF JUDGMENT




Re: Paulino De La Cruz, Juventino Ramos v. Trejo Liquors, Inc., et al.

Case Number: 16-CV-4382 (VSB)(DF)

Name(s) and Address(es) of Parties against whom Judgment(s)   Name(s) and Address(es) of Parties in whose favor Judgment(s)
have been obtained                                            have been obtained

Trejo Liquors, Inc. (d/b/a Trejo Liquors &                    Paulino De La Cruz - P.O. Box 438, New
Wines) - 948 Amsterdam Avenue, New                            York, New York 10003
York, New York 10025

Johanny Trejo - 1068 Margaret Street, 9G,                     Juventino Ramos - 207 W. 107th Street,
Teaneck, New Jersey 07666                                     Apartment 2E, New York, New York 10025




Amount of Judgment(s)               Name(s) and Address(es) of Attorney(s)              Entry Date of Judgment(s)
Paulino De La Cruz -               Paul Bartels                                         August 17, 2020
                                   Bell Law Group, PLLC
$222,329.80                        100 Quentin Roosevelt Boulevard,
                                   Suite 208
Juventino Ramos -                  Garden City, New York 11530

$58,537.72

Plaintiffs -

$31,232.87




                                                         UNITED STATES OF AMERICA,
                                                         CLERK’S OFFICE U.S. DISTRICT COURT FOR THE
                                                         SOUTHERN DISTRICT OF NEW YORK

                                      I CERTIFY that the foregoing is a correct Abstract of the Judgment

                                                                 Dated: New York                      , New York

                                                         RUBY J. KRAJICK, Clerk of Court

                                                         _____________________________________
                                                         By, Deputy Clerk
